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 1   QUIN DENVIR, Bar No. 49374
     Federal Defender
 2   801 I Street, Third Floor
     Sacramento, California 95814
 3   Telephone: (916) 498-5700

 4   Attorney for Defendant
     ROSALVA BERNAL
 5                                                  OK/HAV

 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT

 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11
12   UNITED STATES OF AMERICA,     ) CR S-05-00145 DFL
                                   )
13                  Plaintiff,     )
                                   )
14        v.                       ) STIPULATION AND [PROPOSED]
                                   ) ORDER
15   ROSALVA BERNAL, et al.,       )
                                   )
16                  Defendants.    )
     ______________________________)
17
18
                 Plaintiff   United   States   of   America,   by   its    attorney,
19
     Assistant United States Attorney Jason Hitt, defendant Rosalva Bernal,
20
     by her attorney, Federal Defender Quin Denvir, and defendant Benito
21
     Ledesma, by his attorney, Maria Fonseca, hereby stipulate and agree
22
     that the non-evidentiary hearing currently calendared for June 30
23
     should be continued to August 25, 2005 at 10:00 a.m.
24
                 The parties agree that time should be excluded until that
25
     date due to the pending motion.
26
     / / / / /
27
     / / / / /
28

                                          1
            Case 2:05-cr-00145-JAM Document 30 Filed 07/01/05 Page 2 of 2

 1                                     Respectfully submitted,

 2                                     MCGREGOR SCOTT
                                       United States Attorney
 3
 4
     DATED: June 29, 2005              /s/ Quin Denvir
 5                                     Telephonically authorized to sign
                                       for JASON HITT
 6                                     Assistant U. S. Attorney

 7                                     Attorney for Plaintiff

 8
 9
     DATED: June 29, 2005              /s/ Quin Denvir
10                                     QUIN DENVIR
                                       Federal Defender
11
                                       Attorney for Defendant Bernal
12
13
14   DATED: June 29, 2005              /s/ Quin Denvir
                                       Telephonically authorized to sign
15                                     for MARIA FONSECA
                                       Attorney at Law
16
                                       Attorney for Benito Ledesma
17
18
19                                     O R D E R

20         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

21
22   DATED: June 29 2005

23
24
25                                             DAVID F. LEVI
                                               United States District Judge
26
27
28
     U.S. v. Bernal
     CR S-05-0145 DFL
     Stip/Proposed Order                   2
